
PER CURIAM:
This claim was submitted to the Court for decision upon a Stipulation entered into by claimant and respondent wherein certain facts and circumstances of the claim were agreed to as follows:
1. On August 30, 2007, a tree from W.Va. Route 21 fell across the road and onto the property of Premier Body Works located in Barrackville, Marion County. The tree landed on claimant’s 1991 Chevrolet Corsica, which his son, Chris Harris, had driven to work and parked in Premier Body Works’ parking lot.
2. Respondent was responsible for the maintenance of W.Va. Route 21 which it failed to maintain on the date of this incident.
3. As a result of this incident, claimant’s vehicle sustained damage in the amount of $425.00.
*2154. Respondent agrees that the amount of $425.00 for the damages put forth by the claimant is fair and reasonable.
The Court has reviewed the facts of the claim and finds that respondent was negligent in its maintenance of W.Va. Route 21 on the date of this incident; that the negligence of respondent was the proximate cause of the damages sustained to claimant’s vehicle; and that the amount of the damages agreed to by the parties is fair and reasonable. Thus, claimant may make a recovery for his loss.
Accordingly, the Court is of the opinion to and does make an award in the amount of $425.00.
Award of $425.00.
